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                        EXHIBIT 8
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                                                                            Page 1

 1                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
 2                                  EASTERN DIVISION
 3



 4
            IN RE:      NATIONAL PRESCRIPTION                MDL No. 2804
 5          OPIATE LITIGATION                                Case No. 17-md-2804
 6
            This document relates to:                        Judge Dan
 7                                                       Aaron Polster
 8          The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
 9          Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14
15
16
17
18                   Videotaped Deposition of Joseph Rannazzisi
19                                Washington, D.C.
20                                 April 26, 2019
21                                      8:37 a.m.
22
23
24          Reported by:      Bonnie L. Russo
25          Job No. 3301876

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                                                                    Page 2

 1          Videotaped Deposition of Joseph Rannazzisi held

 2          at:
 3

 4

 5

 6

 7

 8                         Williams      &   Connolly,     LLP

 9                         725 12th Street, N.W.

10                         Washington, D.C.

11

12
13          Pursuant to Notice, when were present on behalf

14          of the respective parties:

15
16

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                                                                    Page 3

 1          APPEARANCES:
 2
 3          On behalf of the Witness:
            GREGORY M. UTTER, ESQ.
 4          KEATING MUETHING & KLEKAMP, PLL
            One East Fourth Street
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                                                                     Page 4

1           APPEARANCES (CONTINUED):
            On behalf of Plaintiffs:
 2          PAUL T. FARRELL, JR.   ESQ.
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                                                                    Page 5

 1          APPEARANCES (CONTINUED):
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                                                                    Page 6

 1          APPEARANCES (CONTINUED) :
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                                                                         Page 7

 1          APPEARANCES   (CONTINUED):
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            On behalf of McKesson Corporation:
 3          GEOFFREY E. HOBART, ESQ.
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            On behalf of H.D. SMITH:
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                                                                    Page 8

 1          APPEARANCES (CONTINUED)
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16          On behalf of Prescription Supply, Inc.
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                                                                    Page 9

 1          APPEARANCES     (CONTINUED)
 2
            ALSO PRESENT:
 3          Special Master Cohen
            Larry Feldman, Plaintiffs
 4          Renee A. Bacchus, Esq., United States
            Department of Justice, United States Attorney's
 5          Office
            David M.    Finkelstein, Esq., United States
 6          Department of Justice, Civil Fraud Section
            Patrick J.    Forrest, United States Department of
 7          Justice, Drug Enforcement Administration
            Daniel Russo, Videographer
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                                                                    Page 12

 1                              P R O C E E D I N G S
 2

 3                            THE VIDEOGRAPHER:           Good morning.      We

 4          are going on the record at 8:37 a.m. on April
 5          26,   2019.
 6                            Please note that the microphones are

 7          sensitive and may pick up whispering, private

 8          conversations and cellular interference.

 9          Please turn off all cell phones or place them

10          away from the microphones as they can interfere

11          with the deposition audio.                  Audio and video

12          recording will continue to take place unless

13          all parties agree to go off the record.

14                            This is Media Unit 1 of the

15          video-recorded deposition of Joseph Rannazzisi

16          taken by counsel for defendant in the matter of

17          In Re:      National Prescription Opiate filed in

18          the United States District Court for the

19          Northern District of Ohio, Eastern Division,

20          Case No.      17-MD-2804.

21                            This deposition is being held at

22          Williams      &    Connolly located at 725 12th Street,

23          Northwest, Washington, D.C.

24                            My name is Daniel Russo from the

25          firm of Veritext Legal Solutions.                   I'm your

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                                                                   Page 13

 1          videographer today.            The court reporter is
 2          Bonnie Russo from the firm Veritext Legal
 3          Solutions.
 4                       Counsel and all present in the room
 5          and everyone attending remotely will now state
 6          their appearances and affiliations for the
 7          record, please.
 8                       MR.   EPPICH:         Chris Eppich of
 9          Covington & Burling for McKesson.
10                       MS. MONAGHAN:             Meghan Monaghan of
11          Covington & Burling for McKesson.
12                       MS. MAINIGI:            Enu Mainigi, Williams
13          & Connolly for Cardinal.
14                       MS. McNAMARA:             Colleen McNamara of
15          Williams & Connolly for Cardinal.
16                       MS. VENTURA:            Catie Ventura from
17          Kirkland & Ellis for Allergan.
18                       MR.    LIVINGSTON:           Scott Livingston,

19          Marcus & Shapira for defendant HBC.
20                       MR.   TYE:       Michael Tye of Arnold &

21          Porter for Endo.
22                       MS. WINCKEL:            Emilie Winckel of
23          O'Melveny & Myers for J&J and Janssen.
24                       MR.    STEPHENS:          Neal Stephens from
25          Jones Day for Walmart.

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                                                                    Page 14

 1                           MR. DAVISON:        William Davison from

 2          Ropes       &   Gray for Mallinckrodt and Specgx LLC.

 3                           MR. O'CONNOR:         Andrew O'Connor from

 4          Ropes       &   Gray for Mallinckrodt.
 5                            MS. O'GORMAN:        Debra O'Gorman from

 6          Dechert for Purdue.
 7                            MS. CONROY:      Mildred Conroy from The

 8          Lanier Law Firm for plaintiffs.
 9                            MR. FULLER:      Mike Fuller for the

10          plaintiffs.
11                            MR. FARRELL:       Paul Farrell, Jr.,     for

12          the plaintiffs.
13                            MS. SINGER:       Linda Singer, Motley

14          Rice,       for the plaintiffs.

15                            MR. FINKELSTEIN:          David Finkelstein,

16          Department of Justice for the DEA.
17                            MR. BENNETT:       James Bennett from the

18          U.S. Attorney's Office for the Northern

19          District of Ohio for the United States, the DEA

20          and the witness in his official capacity.

21                            MR. UTTER:      Greg Utter here on

22          behalf of Mr. Rannazzisi as his personal

23          counsel.
24                            SPECIAL MASTER COHEN:           David Cohen,

25          Special Master.

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                                                                   Page 15

 1                          MR. FORREST:       Patrick Forrest, Drug

 2          Enforcement Administration.
 3                          MS. BACCHUS:       Renee Bacchus, U.S.

 4          Attorney's Office, Northern District of Ohio on

 5          behalf of DOJ, DEA and the witness.

 6                          MS. AGUINIGA:        Sara Aguiniga, Motley

 7          Rice on behalf of plaintiffs.

 8                          MR. FELDMAN:       Larry Feldman on

 9          behalf of the plaintiffs.

10                          MS. MOORE:      Kelly Moore on behalf of

11          Rite Aid.
12                          MR. STOFFELMAYR:          Kaspar

13          Stoffelmayr, Walgreens.

14                          MR. HOBART:       Geoffrey Hobart from

15          Covington for McKesson.

16                          MS. WICHT:      Jennifer Wicht from

17          Williams    &    Connolly for Cardinal Health.

18                          MR. MATTHEWS:        James Matthews for

19          Anda.
20                          MR. RUIZ:     Anthony Ruiz,        Zuckerman

21          Spaeder for CVS Indiana, LLC and CVS Rx

22          Services.
23                          THE VIDEOGRAPHER:           Anyone on the

24          call that wants to identify themselves, please

25          speak up.

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 1                         MR.    LADD:      Matthew Ladd from Morgan
 2           Lewis on behalf of Rite Aid.
 3                         MR.    PADGETT:          Bill Padgett on behalf
 4           of H.D.     Smith.
 5                         MR. BEISELL:             Patrick Beisell from
 6           Jones Day on behalf of Walmart.

 7                         MS.    BARBER:          Maureen Barber from

 8           Morgan Lewis on behalf of the Teva defendants.

 9                         THE VIDEOGRAPHER:                  Will the court

10           reporter please swear in the witness.
11
12                                JOSEPH RANNAZZISI,
13           being first duly sworn to tell the truth,                      the

14                 whole truth and nothing but the truth,

15                               testified as follows:

16                         THE VIDEOGRAPHER:                  You may proceed,

17           Counsel.
18                   EXAMINATION BY COUNSEL FOR McKESSON

19                         BY MR.     EPPICH:
20                  Q.     Good morning,            Mr. Rannazzisi.       My

21           name is Chris Eppich,             I    represent McKesson in

22           this litigation and I will be asking you some
23           questions this morning.
24                         Please state your full name for the

25           record.

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                                                                  Page 326

 1                       BY MS. MAINIGI:
 2                Q.     Yes.
 3                A.     I don't know.           Because - - just

 4          because you have a system doesn't mean you are

 5          following your protocols in your system.                    You

 6          might have the greatest system in the world but

 7          if you are not following your own protocols,                      if

 8          you are not looking at each individual order

 9          that the system kicks out,               doing due diligence,

10          maintaining effective controls against

11          diversion,     then the system is worthless because

12          you are not following the protocols that you

13          established,     so I can't say that.

14                Q.     So following the protocols that you

15          established,      is that some sort of guidance that

16          DEA put out to companies?

17                       MS. SINGER:          Objection.     Vague.

18                       MR. BENNETT:          Objection.      Vague.

19          Objection.      Scope.

20                       THE WITNESS:           It would be -- it

21          would be common sense for a company to

22          establish protocols and then follow their own

23          protocols within their suspicious order

24          monitoring system.

25                       BY MS. MAINIGI:

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                                                                     Page 359

 1                       CERTIFICATE OF NOTARY PUBLIC
 2                      I,   Bonnie L. Russo,         the officer before
 3          whom the foregoing deposition was taken,                    do
 4          hereby certify that the witness whose testimony
 5          appears in the foregoing deposition was duly
 6          sworn by me; that the testimony of said witness
 7          was taken by me in shorthand and thereafter

 8          reduced to computerized transcription under my
 9          direction; that said deposition is a true
10          record of the testimony given by said witness;
11          that I am neither counsel for,                  related to, nor
12          employed by any of the parties to the action in
13          which this deposition was taken; and further,
14          that I am not a relative or employee of any
15          attorney or counsel employed by the parties

16          hereto, nor financially or otherwise interested
17          in the outcome of the action.



                                   ~ L ~
18

19

20                                Notary Public in and for
21                                 the District of Columbia
22

23          My Commission expires:              June 3 0 , 2 0 2 0

24

25

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